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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                               Case No. 12-602014-CR-ROSENBAUM


  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.

  KIMBERLY WENDELL ROTHSTEIN and
  STACIE WEISMAN,

                         Defendants.
                                                /


                                                 ORDER

         This matter is before the Court on an independent review of the record. Recently, Defendants

  Kimberly Rothstein and Stacie Weisman filed their latest motions seeking a continuance of the

  sentencing date in this case. Rothstein and Weisman explained that they sought a continuance to

  facilitate their cooperation in another case in which trial has been reset several times, most recently

  for the trial period beginning October 21, 2013.

         While the Court recognizes that Rothstein and Weisman do not control the scheduling of the

  other trial, this Court cannot wait indefinitely for the other trial to occur. This Court originally

  scheduled the sentencings in this case for April 19, 2013, and June 7, 2013, respectively, and

  subsequently granted three motions to continue the sentencings to allow Defendants to complete

  their cooperation before they were sentenced. The sentencings in this matter are now set for

  November 12, 2013. If the trial does not proceed on the October 21, 2013, trial calendar or if no date

  certain is set for the trial to begin shortly after the October 21, 2013, trial calendar, the Court will
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  not reschedule these sentencings again on the basis that Defendants have not completed their

  cooperation. At some point, this case must be brought to closure.

         Although the Court has no opinion on what Defendants’ sentences in this case will be,

  Probation’s initial calculation of the Advisory Sentencing Guidelines range reflects a range that

  includes substantial jail time, even on the low end. Thus, while the Court does not preclude any type

  of sentence at this time, it does not appear now that sentencing Defendants before the other trial

  occurs will result in Defendants’ spending time in prison that they otherwise would not. Of course,

  should Defendants be concerned about such an event, they may raise it at the sentencings, and if the

  Court agrees, it will consider recessing the sentencings until the other trial has been completed and

  concluding the sentencings at that time.

         DONE and ORDERED at Fort Lauderdale, Florida, this 26th day of September 2013.




                                                        ROBIN S. ROSENBAUM
                                                        UNITED STATES DISTRICT JUDGE


  Copies furnished to:

  Counsel of record
